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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

Afraaz R. Irani, M.D.,                           )
                                                 ) C.A. No. 3:14-cv-3577-CMC-KDW
                       Plaintiff,                )
                                                 )
        v.                                       ) DEFENDANT DAVID KOON’S
                                                 )   MOTION FOR SUMMARY
Palmetto Health; University of South Carolina ) JUDGMENT ON STATE LAW CLAIMS
School of Medicine; David E. Koon, Jr., M.D., in )
his individual capacity; and John J. Walsh, IV, )
M.D., in his individual capacity,                )
                                                 )
                       Defendants.               )
                                                 )

       Defendant David E. Koon, Jr., M.D. hereby moves for summary judgment pursuant to

Rule 56, Fed.R.Civ.P. This motion is supported by a memorandum of law, submitted testimony,

and such other argument and submissions as the Court may allow.

                                                          s/ Fred A. Williams
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